                             UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF TENNESSEE
                                  NASHVILLE DIVISION

 TENNESSEE EQUALITY PROJECT                         )
 FOUNDATION, INC.,                                  )
                                                    )
         Plaintiff,                                 )
                                                    )    No. 3:23-cv-01044
 v.                                                 )
                                                    )
 THE CITY OF MURFREESBORO,                          )
 TENNESSEE, et al.,                                 )
                                                    )
         Defendants.
                                               ORDER

        On December 4, 2023, the Court held a status conference to discuss consolidation of

Plaintiff’s request for a preliminary injunction with trial. After discussion on the record, the parties

agreed that consolidation was appropriate. For the reasons stated on the record, by no later than

December 8, 2023, the parties shall jointly: (1) request the Court dismiss Plaintiff’s claims for

money damages against McFarland and Tindall in their official capacities in Counts XII through

XIV as duplicative, which Plaintiff has conceded (see Doc. No. 45 at 18); and (2) file notice

proposing trial dates. The parties’ notice should also request any changes to the Initial Case

Management Order (Doc. No. 34) necessary to prepare for trial.

        IT IS SO ORDERED.




                                                        ____________________________________
                                                        WAVERLY D. CRENSHAW, JR.
                                                        CHIEF UNITED STATES DISTRICT JUDGE




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